Case 1:14-cv-00352-LO-IDD Document 34 Filed 03/11/16 Page 1 of 1 PageID# 464




                                                             FILED: March 11, 2016


                     UNITED STATES COURT OF APPEALS
                         FOR THE FOURTH CIRCUIT

                               ___________________

                                    No. 14-2378
                              (1:14-cv-00352-LO-IDD)
                               ___________________

PROVIDENCE HALL ASSOCIATES LIMITED PARTNERSHIP

              Plaintiff - Appellant

v.

WELLS FARGO BANK, N.A., successor in interest to Wachovia Bank, N.A.

              Defendant - Appellee

                               ___________________

                                 JUDGMENT
                               ___________________

      In accordance with the decision of this court, the judgment of the district

court is affirmed.

      This judgment shall take effect upon issuance of this court's mandate in

accordance with Fed. R. App. P. 41.

                                       /s/ PATRICIA S. CONNOR, CLERK
